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   NEW YORK STATE
   DEPARTMENT OF FINANCIAL SERVICES
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    In the Matter of

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    OCWEN FINANCIAL CORPORATION,
    OCWEN LOAN SERVICING, LLC
                                     -·------------· .....-- ....-   ........ .,   ____________

          CONSENT ORDER PURSUANT TO NEW YORK BANKING LAW § 44

          The New York State Department of Financial Services (the "Department") and Ocwen

  Financial Corporation, the parent company of Ocwen Loan Servicing, LLC (together, "Ocwen"),

  (collectively, the "Parties") stipulate that:

          WHEREAS, Ocwen Loan Servicing, LLC is a New York State-licensed mortgage banker

  and an exempt mortgage loan servicer, pursuant to the New York Banking Law, and the

   Department is responsible for its supervision and regulation in New York;

          WHEREAS, on December 19, 2014, the Parties entered into a Consent Order (the "2014

  Consent Order") which, among other things, required Ocwen to retain an independent operations

   monitor (the "Operations Monitor") for a period of 24 months to review and assess the adequacy

  and effectiveness of Ocwen' s operations;

          WHEREAS, under the 2014 Consent Order, the Department retained the right to extend

  the term of the Operations Monitor for another twelve months if the Department determined that

  Ocwen did not achieve certain benchmarks established by the Operations Monitor;

          WHEREAS, the Operations Monitor was required to, among other things, review and

  make recommendations for improving Ocwen' s operations and to assist the company in building

  a corporate governance structure that would help ensure ongoing compliance with legal and

  regulatory obligations.
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         WHEREAS, Ocwen formally engaged the Operations Monitor on March 30, 2015;

         WHEREAS, during the past two years, Ocwen has implemented certain of the reforms

  required by the 2014 Consent Order and the recommendations made by the Operations Monitor;

         WHEREAS, among other things, Ocwen has expanded its Board of Directors by

  installing a number of independent directors, made improvements in enhancing its compliance

  and information technology infrastructure and, most significantly for the borrowers whose loan

  Ocwen services, the company has improved its borrower correspondence function to minimize

  the likelihood of providing inaccurate, misdated or otherwise contradictory and misleading

  information;

         WHEREAS, notwithstanding these improvements, Ocwen is still in the process of

  implementing a number of reforms and recommendations, and has yet to demonstrate that its

  reforms are sustainable; and

         WHEREAS, in the waning months of the Operations Monitor's initial 24-month term,

  Ocwen began to initiate a significant shift in certain aspects of its servicing operations and the

  Department has concerns about the company's ability to implement these changes and service

  loans without considerable regression of its compliance management systems, operational

  control environment and technology infrastructure.

         NOW, THEREFORE, in recognition of both the progress the company has made and the

  Department's ongoing concerns about the safety and soundness of Ocwen's operations, the

  Department deems it prudent, and Ocwen agrees, to enter into this Consent Order.




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                                        Settlement Provisions

   Operations Monitor

      11. By April 14, 2017, the Operations Monitor will issue a final report detailing all

  outstanding corrective measures that Ocwen must implement to address weaknesses and

  deficiencies in Ocwen's operations. The Operations Monitor's engagement shall terminate upon

  the submission of the final report.

      12. Within thirty (30) days ofreceiving the Operations Monitor's final report, Ocwen will

  submit to the Department a detailed written plan to address the outstanding corrective measures

  and all of the items listed in paragraph 14 (the "Corrective Action Plan"). In the event that

  Ocwen disagrees with the necessity or scope of any of the outstanding corrective measures, or

  the operational deficiency to which they relate, Ocwen shall include in the Corrective Action

  Plan an explanation of its objections, alternative proposals that Ocwen believes will achieve the

  same objective or purpose as the corrective measures at issue, and an explanation as to why

  Ocwen's alternative proposals are preferable to achieving the necessary outcome.

      13. The Parties shall seek to reach an agreement regarding any proposed modification to the

  outstanding corrective measures. If they are unable to agree on any modification of the proposed

  corrective measures, then Ocwen shall implement those corrective measures which the

  Department deems appropriate.

      14. In addition to the outstanding corrective measures, Ocwen shall conduct an enterprise

  wide risk assessment and an information technology risk assessment within six months of the

  date of this Consent Order and provide the completed assessments to the Department.

      15. Ocwen will report to the Department on its progress in addressing the Corrective Action

  Plan on a quarterly basis, starting with the end of the second calendar quarter of 2017.



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     16. Tn addition, the Department will conduct an examination of Ocwen on a date selected by

  the Department to assess Ocwen's implemenlaliun uflht: uutslanding corrective measures and

  the safety and soundness of its servicing operations. Nothing in this paragraph shall impact the

  Department's authority to conduct examinations of Ocwen at any time.

      17. The Department will not extend the term of the Operations Monitor an additional twelve

  months, as contemplated in paragraph 46 of the 2014 Consent Order; however, the Parties agree

  that the Department may, in its sole discretion, require Ocwen to retain an independent

  consultant that is acceptable to the Department to review and issue recommendations on

  Ocwen's servicing operations if the Department concludes, as a result of the examination

  provided for in paragraph 16, that Ocwen has materially failed to implement the Corrective

  Action Plan or otherwise finds that Ocwen's servicing operations are materially deficient.

  Senior Management

      18. Ocwen's Board of Directors will engage in an ongoing review of the performance of the

  company's senior management, focusing on senior management's oversight of ongoing or

  material changes to Ocwen's servicing operations, addressing the Corrective Action Plan,

  implementation of the 2017 information technology plan, and the company's adherence to the

  revised policies and procedures developed with the assistance of the Operations Monitor.

  Mortgage Servicing Rights ("MSRs")

      19. To assist the Department in determining whether to ease the restrictions on Ocwen's

  ability to acquire MS Rs, the Department has scheduled an on-site examination of Ocwen. As

  part of this examination, the Department will assess whether Ocwen is currently able to service

  mortgage loans without experiencing the widespread servicing failings identified in the 2012

  agreement between Ocwen and the Department and the 2014 Consent Order.



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      20. The Department will review the examination findings to determine whether to approve

  Ocwen's request to ease the restrictions on its ability to acquire new MSRs.

      21. Ocwen acknowledges and understands that this Consent Order does not address any

  findings that may arise out of the scheduled examination. The Department and Ocwen will

  confer separately to address any newly identified findings.

  Breach of Consent Order

      22. In the event that the Department believes Ocwen to be in material breach of this Consent

  Order ("Breach"), the Department will provide written notice to Ocwen, and Ocwen must, within

  ten (10) business days of receiving such notice, or on a later date if so determined in the

  Department's sole discretion, appear before the Department to demonstrate that no Breach has

  occurred or, to the extent pertinent, that the Breach has been cured.

     23. The parties understand and agree that Ocwen's failure to make the required showing

  within the designated time period will be presumptive evidence of Ocwen's Breach. Upon a

  finding of Breach, the Department has all the remedies available to it under the New York

  Banking and Financial Services Laws and may use any evidence available to the Department in

  any ensuing hearings, notices, or orders.

  Waiver of Rights

     24. Ocwen understands and agrees that no provision of this Consent Order is subject to

  review in any court or tribunal outside the Department.

  Parties Bound by the Consent Order

     25. This Consent Order is binding on the Department and Ocwen, as well as Ocwen's

  successors and assigns that are under the Department's supervisory authority. This Consent

  Order does not bind any federal or other state agency or any law enforcement authority.



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     26. Nothing in this Consent Order shall limit the Department's authority to examine or

  otherwise address any conduct.

  Notices

     27. All notices or communications regarding this Consent Order will be sent to:

  For the Department:

  Peter C. Dean
  Executive Deputy Superintendent
  Real Estate Finance Division
  One State Street
  New York, NY 10004

  For Ocwen:

  Timothy M. Hayes
  Executive Vice President and General Counsel
  Ocwen Financial Corporation
  1661 Worthington Road # 100
  West Palm Oeach, foL 33409

  Miscellaneous

     28. Each provision of this Consent Order will remain effective and enforceable until stayed,

  modified, suspended, or terminated by the Department.

     29. No promise, assurance, representation, or understanding other than those contained in this

  Consent Order has been made to induce any party to agree to the provisions of the Consent

  Order.




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    IN WITNESS WHEREOF, the parties have caused this Consent Order to be signed this 2ih

    day of March 2017.

    OCWEN FINANCIAL CORPORATION                 NEW YORK STATE DEPARTMENT OF
                                                FINANCIAL SERVICES



    RONALD FARIS
                                                By,_kmA
                                                   tv1ARIA T. VULLO
    President and Chief Executive Officer          Superintendent of Financial Services


    OCWEN LOAN SERVICING, LLC                   NEW YORK STATE DEPARTMENT OF
                                                FINANCIAL SERVICES

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    By:     ­
    TIMOTHY M. HAYES
    Executive Vice President                    E, cutive Deputy Superintendent, Real · state
                                                Finance Division




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